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                        8

                        9                               UNITED STATES DISTRICT COURT

                       10                      FOR THE NORTHERN DISTRICT OF CALIFORNIA

                       11                                               OAKLAND

                       12
                            NATIONAL UNION OF HEALTHCARE                     ) Case No.
                       13   WORKERS,                                         )
                                                                             ) NATIONAL UNION OF HEALTHCARE
                       14                  Plaintiff,                        ) WORKERS’ COMPLAINT TO COMPEL
                                                                             ) ARBITRATION
                       15          v.                                        )
                       16                                                    ) (9 U.S.C. § 4; 29 U.S.C. § 185)
                            CHILDREN’S HOSPITAL & RESEARCH                   )
                            CENTER AT OAKLAND, a California                  )
                       17
                            nonprofit public benefit corporation,            )
                       18                                                    )
                                           Defendant.
                                                                             )
                       19
                       20                                         I. INTRODUCTION
                       21          1.      Plaintiff, the National Union of Healthcare Workers (NUHW or the Union or
                       22   Petitioner), a labor organization, brings this action pursuant to Section 4 of the Federal
                       23   Arbitration Act (FAA), 9 U.S.C. § 4, and pursuant to Section 301 of the Labor Management
                       24   Relations Act (LMRA), 29 U.S.C. section 185, to compel Defendant, Children’s Hospital &
                       25   Research Center at Oakland dba University of California San Francisco (UCSF) Benioff
                       26   Children’s Hospital & Research Center at Oakland (BCH Oakland or the Employer or
                       27   Respondent), to arbitrate the controversies alleged herein as required by the parties’ collective
                       28   bargaining agreements. Despite repeated requests, Defendant refuses to proceed with arbitration.
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                        1   Plaintiff, therefore, requests the Court issue an order compelling Defendant to arbitrate these

                        2   matters.

                        3          2.      In support of this Complaint, Plaintiff alleges as follows:

                        4                                  II. JURISDICTION AND VENUE

                        5          3.      A federal district court has original jurisdiction over “all civil actions arising under

                        6   the Constitution, law, or treaties of the United States.” 28 U.S.C. § 1331. This action to compel

                        7   arbitration pursuant to the grievance and arbitration provisions of binding collective bargaining

                        8   agreements arises under, and this Court has subject matter jurisdiction pursuant to, Section 4 of

                        9   the Federal Arbitration Act and Section 301(a) of the Labor Management Relations Act. See 9

                       10   U.S.C. § 4; 29 U.S.C. § 185(a).

                       11          4.      Venue is appropriate in the Northern District of California pursuant to Section

                       12   301(c) of the LMRA, as Plaintiff’s duly authorized officers and agents are engaged in

                       13   representing and acting on behalf of members and bargaining unit employees in the City of

                       14   Oakland, in the County of Alameda, and pursuant to 28 U.S.C. § 1391(b)(2), as a substantial part

                       15   of the events or omissions giving rise to the claim occurred within this judicial district.

                       16          5.      Because the acts giving rise to this lawsuit arose primarily in Alameda and/or

                       17   Contra Costa Counties, it should be assigned to the San Francisco/Oakland division.

                       18                                          III. THE PARTIES

                       19          6.      Plaintiff/Petitioner the National Union of Healthcare Workers is a labor

                       20   organization representing employees in the healthcare industry affecting commerce within the

                       21   meaning of 29 U.S.C. section 185. Plaintiff represents over 19,000 healthcare employees

                       22   working throughout the states of California and Hawai’i. Since 2012, NUHW has represented

                       23   employees employed by BCH Oakland, previously identified as Children’s Hospital and

                       24   Research Center at Oakland. Presently, NUHW represents approximately 1,332 employees, in

                       25   three separate bargaining units, at BCH Oakland. At all relevant times, Plaintiff has and does

                       26   maintain a principal place of business, its Northern California Office, situated at 1250 45th

                       27   Street, Suite 200 Emeryville, CA 94608, located in Alameda County.

                       28          7.      Defendant Children’s Hospital & Research Center at Oakland dba University of
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                        1   California San Francisco (UCSF) Benioff Children’s Hospital & Research Center at Oakland is

                        2   an employer engaged in the hospital and healthcare industries affecting commerce, and is a

                        3   California nonprofit corporation, authorized to conduct business and regularly conducting

                        4   business in the State of California. Defendant operates a primary hospital, the UCSF Benioff

                        5   Children’s Hospital, situated at 747 52nd Street in Oakland, California, and operates the Oakland

                        6   Outpatient Center, located at 744 52nd Street, in Oakland, California, as well as additional

                        7   healthcare facilities located in Oakland and Walnut Creek, California. Defendant BCH Oakland

                        8   is an employer within the meaning of Section 2(2) of the National Labor Relations Act and

                        9   within the meaning of Section 301(a) of the LMRA. See 29 U.S.C. § 152(2) and 29 U.S.C.

                       10   § 185(a).

                       11                                   IV. FACTUAL BACKGROUND

                       12          8.      As Plaintiff demonstrates below, NUHW and BCH Oakland are parties to valid

                       13   arbitration agreements contained within collective bargaining agreements (CBA). The parties

                       14   had and continue to have specific disputes over the application of and/or interpretation of several

                       15   provisions contained in their CBAs. While the CBAs were in effect, NUHW submitted to BCH

                       16   Oakland timely and valid grievances concerning the disputes. After those grievances were

                       17   properly advanced to arbitration, Defendant has consistently refused and failed to arbitrate the

                       18   grievances. Defendant’s refusal to arbitrate the grievance is without justification and is not

                       19   rooted in a good faith non-frivolous basis for refusing to arbitrate.

                       20          A.      NUHW and BCH Oakland Are Parties to Valid Arbitration Agreements
                                           Contained Within Their Collective Bargaining Agreements
                       21

                       22          9.      At all relevant times, Plaintiff NUHW and Defendant BCH Oakland have been

                       23   and are signatories to, and bound by, three separate collective bargaining agreements, one for

                       24   each of three separate bargaining units. Each of those agreements set forth the terms and

                       25   conditions of employment for the performance of work by employees employed by BCH

                       26   Oakland. Each of those agreements also contains a valid and binding mandatory arbitration

                       27   clause that applies to the instant dispute.

                       28   //
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                        1                  1.      Service & Technical Workers CBA and Valid Arbitration Agreement:

                        2          10.     On March 18, 2016, in Case No. 32-RC-114542, and on June 9, 2016, in Case No.

                        3   32-RC-175744, NUHW was certified by the National Labor Relations Board (NLRB) as the

                        4   exclusive bargaining agent for employees in the Service and Technical Workers (S&T)

                        5   bargaining unit. A prior NLRB certification in this unit issued on May 24, 2012, in Case No. 32-

                        6   RC-005617. Plaintiff NUHW and Defendant BCH Oakland are signatories to, and bound by, a

                        7   written Collective Bargaining Agreement (CBA) that set forth the terms and conditions of

                        8   employment for the performance of work by employees in the S&T bargaining unit. The S&T

                        9   CBA has been in effect at all times relevant to this Complaint in that the CBA’s effective dates

                       10   are May 1, 2022, through April 30, 2025. A true and correct copy of this S&T CBA is attached

                       11   to this Complaint as Exhibit A (S&T CBA with effective dates of May 1, 2022, through April

                       12   30, 2025).

                       13          11.     Under this CBA, Respondent explicitly recognizes NUHW as the exclusive

                       14   bargaining agent for approximately 671 employees in the S&T unit. See Exhibit A, S&T CBA at

                       15   p. 1, Section 1.1, Recognition: Bargaining Unit.

                       16          12.     The terms of this S&T CBA, as applicable to this Complaint were, and continue to

                       17   be, performed by the parties in Alameda and/or Contra Costa County.

                       18          13.     Section 31 of the S&T CBA sets forth the Grievance Procedure and Arbitration, in

                       19   relevant part, as follows:

                       20                  SECTION 31 – GRIEVANCE PROCEDURE AND
                                           ARBITRATION
                       21
                                           31.1    Any problem arising in connection with the application or
                       22                          interpretation of the provisions of this Agreement, including
                                                   the problems of discharge or suspension, which cannot be
                       23                          amicably adjusted between an employee of the Hospital and
                                                   the Department Head, or such other person as the Hospital
                       24                          may designate, shall be reduced to writing, signed by the
                       25                          employee or Union representative, whichever is appropriate,
                                                   and submitted to a Hospital representative designated by the
                       26                          Hospital. No grievance shall be considered unless it has been
                                                   first presented in writing within thirty (30) days of the alleged
                       27                          occurrence giving rise to the grievance. In the event the
                                                   grievance concerns the discharge or suspension of an
                       28
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                                             employee, the grievance must be presented in writing within
                        1                    ten (10) working days following discharge or suspension.
                        2             31.2   STEP ONE - GRIEVANCE CONFERENCE
                        3                    Within seven (7) days of receipt of the written grievance by
                                             the Hospital, the Union, the employee, and the Hospital
                        4                    Administrator or designated representative shall meet and
                                             attempt to resolve the matter informally. If the efforts to
                        5                    resolve the grievance in this matter are unsuccessful, either
                        6                    party may request that the matter be referred to an Adjustment
                                             Board. The request for an Adjustment Board must be made to
                        7                    the other party within fifteen (15) days of the receipt by the
                                             Hospital of the written grievance.
                        8
                                      31.3   STEP TWO - ADJUSTMENT BOARD
                        9                    Upon receipt of a timely, written request, there shall be an
                                             Adjustment Board established consisting of two (2) Union
                       10
                                             Field Representatives designated by the Union and two (2)
                       11                    representatives designated by the Hospital. The Adjustment
                                             Board shall meet within ten (10) days of receipt of the request
                       12                    for its establishment and shall consider fully all aspects of the
                                             issues presented. Any decision by a majority of the four
                       13                    members of the Board of Adjustment shall be final and
                                             binding upon all parties, subject to limitations on jurisdiction
                       14
                                             and authority contained in 31.3(c) below. If, during the period
                       15                    that the Adjustment Board can meet, no majority decision is
                                             reached, either party may request in writing that the matter be
                       16                    referred to Step Three, provided that if such request is made,
                                             it must be made within ten (10) days of a deadlock at the
                       17                    Adjustment Board, or within ten (10) days following the
                       18                    period during which the Adjustment Board can meet
                                             whichever occurs first, or proceeding to arbitration shall be
                       19                    waived.
                                             a. Arbitration
                       20
                                                The following procedure shall apply if a grievance is
                       21                       timely submitted in writing to arbitration:
                       22                       An impartial arbitrator shall be selected by mutual
                                                agreement from the following panel of arbitrators:
                       23
                                                 Fred Horowitz                 Jerilou Cossack
                       24                        Matthew Goldberg              Andria Knapp
                                                 Barry Winograd                Mark Burstein
                       25                        David Weinberg
                       26                       If the parties cannot reach agreement, the parties will
                                                select an arbitrator by alternately striking names from the
                       27
                                                list until one arbitrator remains. The selection of the
                       28                       arbitrator must be completed no later than thirty (30)
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                                                      calendar days from receipt by the Facility of the appeal to
                        1                             arbitration.
                        2                         b. A hearing on the grievance shall be held at a time and
                                                     place designated by the arbitrator, at which the Facility
                        3                            and the Union shall present their respective positions,
                        4                            evidence and arguments. The sole parties to the
                                                     arbitration shall be the Facility and the Union. The
                        5                            arbitrator’s decision shall be rendered in writing and shall
                                                     be final and binding on the parties and on all affected
                        6                            bargaining unit employees. It shall be issued not more
                                                     than thirty (30) calendar days after the close of the hearing
                        7                            or the filing of the briefs, whichever is later.
                        8                         c. The arbitrator’s authority is derived from this Agreement
                                                     and his/her jurisdiction is limited to the interpretation and
                        9                            application thereof. He/She shall not have authority to:
                       10                             i. amend or modify any provision of this Agreement; or
                       11                             ii. render an award on any grievance arising before the
                                                          effective date or after the termination date.
                       12
                                                  d. The fee and expenses of the arbitrator, the court reporter’s
                       13                            appearance fee, and the cost of mutual facilities shall be
                                                     borne equally by the Facility and the Union.
                       14
                                           2.     Business Office Clerical CBA and Valid Arbitration Agreement:
                       15
                                   14.     On August 11, 2016, NUHW was certified by the National Labor Relations Board
                       16
                            (NLRB) in Case No. 32-RC-1179709 as the exclusive bargaining agent for employees in the
                       17
                            Business Office and Clerical Workers (BOC) bargaining unit. Plaintiff NUHW and Defendant
                       18
                            BCH Oakland are signatories to, and bound by, a written Collective Bargaining Agreement
                       19
                            (CBA) that set forth the terms and conditions of employment for the performance of work by
                       20
                            employees in the BOC bargaining unit. The BOC CBA has been in effect at all times relevant to
                       21
                            this Complaint in that the CBA’s effective dates are May 1, 2022, through April 30, 2025. A true
                       22
                            and correct copy of this BOC CBA is attached to this Complaint as Exhibit B (BOC CBA with
                       23
                            effective dates of May 1, 2022, through April 30, 2025).
                       24
                                   15.     Under this CBA, Respondent explicitly recognizes NUHW as the exclusive
                       25
                            bargaining agent for approximately 336 employees in the BOC unit. See Exhibit B, BOC CBA
                       26
                            at p. 1, Section 1.1, Recognition: Bargaining Unit.
                       27
                                   16.     The terms of this BOC CBA, as applicable to this Complaint were, and continue to
                       28
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                        1   be, performed by the parties in Alameda and/or Contra Costa County.

                        2          17.     Section 31 of the BOC CBA sets forth the Grievance Procedure and Arbitration, in

                        3   relevant part, as follows:

                        4                  SECTION 31 – GRIEVANCE PROCEDURE AND
                                           ARBITRATION
                        5
                                           31.1    Any problem arising in connection with the application or
                        6                          interpretation of the provisions of this Agreement, including
                                                   the problems of discharge or suspension, which cannot be
                        7                          amicably adjusted between an employee of the Hospital and
                                                   the Department Head, or such other person as the Hospital
                        8                          may designate, shall be reduced to writing, signed by the
                        9                          employee or Union representative, whichever is appropriate,
                                                   and submitted to a Hospital representative designated by the
                       10                          Hospital. No grievance shall be considered unless it has been
                                                   first presented in writing within thirty (30) days of the alleged
                       11                          occurrence giving rise to the grievance. In the event the
                                                   grievance concerns the discharge or suspension of an
                       12                          employee, the grievance must be presented in writing within
                       13                          ten (10) working days following discharge or suspension.
                                           31.2    STEP ONE - GRIEVANCE CONFERENCE
                       14
                                                   Within seven (7) days of receipt of the written grievance by
                       15                          the Hospital, the Union, the employee, and the Hospital
                                                   Administrator or designated representative shall meet and
                       16                          attempt to resolve the matter informally. If the efforts to
                                                   resolve the grievance in this matter are unsuccessful, either
                       17
                                                   party may request that the matter be referred to an Adjustment
                       18                          Board. The request for an Adjustment Board must be made to
                                                   the other party within fifteen (15) days of the receipt by the
                       19                          Hospital of the written grievance.
                       20                  31.3    STEP TWO - ADJUSTMENT BOARD
                                                   Upon receipt of a timely, written request, there shall be an
                       21
                                                   Adjustment Board established consisting of two (2) Union
                       22                          Field Representatives designated by the Union and two (2)
                                                   representatives designated by the Hospital. The Adjustment
                       23                          Board shall meet within ten (10) days of receipt of the request
                                                   for its establishment and shall consider fully all aspects of the
                       24                          issues presented. Any decision by a majority of the four
                                                   members of the Board of Adjustment shall be final and
                       25
                                                   binding upon all parties, subject to limitations on jurisdiction
                       26                          and authority contained in 31.3(c) below. If, during the period
                                                   that the Adjustment Board can meet, no majority decision is
                       27                          reached, either party may request in writing that the matter be
                                                   referred to Step Three, provided that if such request is made,
                       28                          it must be made within ten (10) days of a deadlock at the
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                                                 Adjustment Board, or within ten (10) days following the
                        1                        period during which the Adjustment Board can meet
                        2                        whichever occurs first, or proceeding to arbitration shall be
                                                 waived.
                        3                        a. Arbitration
                        4                           The following procedure shall apply if a grievance is
                                                    timely submitted in writing to arbitration:
                        5
                                                    An impartial arbitrator shall be selected by mutual
                        6                           agreement from the following panel of arbitrators:
                        7                            Fred Horowitz              Jerilou Cossack
                                                     Matthew Goldberg           Andria Knapp
                        8                            Barry Winograd             Mark Burstein
                                                     David Weinberg
                        9
                                                    If the parties cannot reach agreement, the parties will
                       10                           select an arbitrator by alternately striking names from the
                                                    list until one arbitrator remains. The selection of the
                       11                           arbitrator must be completed no later than thirty (30)
                                                    calendar days from receipt by the Facility of the appeal to
                       12
                                                    arbitration.
                       13                        b. A hearing on the grievance shall be held at a time and
                                                    place designated by the arbitrator, at which the Facility
                       14                           and the Union shall present their respective positions,
                       15                           evidence and arguments. The sole parties to the
                                                    arbitration shall be the Facility and the Union. The
                       16                           arbitrator’s decision shall be rendered in writing and shall
                                                    be final and binding on the parties and on all affected
                       17                           bargaining unit employees. It shall be issued not more
                                                    than thirty (30) calendar days after the close of the hearing
                       18
                                                    or the filing of the briefs, whichever is later.
                       19                        c. The arbitrator’s authority is derived from this Agreement
                                                    and his/her jurisdiction is limited to the interpretation and
                       20                           application thereof. He/She shall not have authority to (a)
                       21                           amend or modify any provision of this Agreement; or (b)
                                                    render an award on any grievance arising before the
                       22                           effective date or after the termination date.

                       23                        d. The fee and expenses of the arbitrator, the court reporter’s
                                                    appearance fee, and the cost of mutual facilities shall be
                       24                           borne equally by the Facility and the Union.

                       25                 3.     Professional Unit CBA and Valid Arbitration Agreement:
                       26          18.    On February 3, 2017, NUHW was certified by the National Labor Relations Board
                       27   (NLRB) in Case No. 32-RC-190377 as the exclusive bargaining agent for employees in the
                       28   Professional Employees (Professional or Pros) bargaining unit. Plaintiff NUHW and Defendant
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                        1   BCH Oakland are signatories to, and bound by, a written Collective Bargaining Agreement that

                        2   set forth the terms and conditions of employment for the performance of work by employees in

                        3   the Professional bargaining unit. The Pros CBA has been in effect at all times relevant to this

                        4   Complaint in that the CBA’s effective dates are September 1, 2022, through August 31, 2025. A

                        5   true and correct copy of this Pros CBA is attached to this Complaint as Exhibit C (Pros CBA

                        6   with effective dates of September 1, 2022, through August 31, 2025).

                        7          19.     Under this CBA, Respondent explicitly recognizes NUHW as the exclusive

                        8   bargaining agent for approximately 325 employees in the Professional unit. See Exhibit C, Pros

                        9   CBA at p. 1, Section 1.1, Recognition: Bargaining Unit.

                       10          20.     The terms of this Pros CBA, as applicable to this Complaint were, and continue to

                       11   be, performed by the parties in Alameda and/or Contra Costa County.

                       12          21.     Section 33 of the Pros CBA sets forth the Grievance Procedure and Arbitration, in

                       13   relevant part, as follows:

                       14                  SECTION 33 – GRIEVANCE PROCEDURE AND
                                           ARBITRATION
                       15
                                           33.1    Any problem arising in connection with the application or
                       16                          interpretation of the provisions of this Agreement, including
                                                   the problems of discharge or suspension, which cannot be
                       17                          amicably adjusted between an employee of the Hospital and
                                                   the Department Head, or such other person as the Hospital may
                       18                          designate, shall be reduced to writing, signed by the employee
                       19                          or Union representative, whichever is appropriate, and
                                                   submitted to a Hospital representative designated by the
                       20                          Hospital. No grievance shall be considered unless it has been
                                                   first presented in writing within thirty (30) days of the alleged
                       21                          occurrence giving rise to the grievance. In the event the
                                                   grievance concerns the discharge or suspension of an
                       22                          employee, the grievance must be presented in writing within
                       23                          ten (10) working days following discharge or suspension.
                                           33.2    STEP ONE - GRIEVANCE CONFERENCE
                       24
                                                   Within seven (7) days of receipt of the written grievance by
                       25                          the Hospital, the Union, the employee, and the Hospital
                                                   Administrator or designated representative shall meet and
                       26                          attempt to resolve the matter informally. If the efforts to
                                                   resolve the grievance in this matter are unsuccessful, either
                       27
                                                   party may request that the matter be referred to an Adjustment
                       28                          Board. The request for an Adjustment Board must be made to
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                                              the other party within fifteen (15) days of the receipt by the
                        1                     Hospital of the written grievance.
                        2              33.3   STEP TWO - ADJUSTMENT BOARD
                        3                     Upon receipt of a timely, written request, there shall be an
                                              Adjustment Board established consisting of two (2) Union
                        4                     Field Representatives designated by the Union and two (2)
                                              representatives designated by the Hospital. The Adjustment
                        5                     Board shall meet within ten (10) days of receipt of the request
                        6                     for its establishment and shall consider fully all aspects of the
                                              issues presented. Any decision by a majority of the four
                        7                     members of the Board of Adjustment shall be final and binding
                                              upon all parties, subject to limitations on jurisdiction and
                        8                     authority contained in 33.4(c) below. If, during the period that
                                              the Adjustment Board can meet, no majority decision is
                        9                     reached, either party may request in writing that the matter be
                       10                     referred to Step Three, provided that if such request is made,
                                              it must be made within ten (10) days of a deadlock at the
                       11                     Adjustment Board, or within ten (10) days following the
                                              period during which the Adjustment Board can meet
                       12                     whichever occurs first, or proceeding to arbitration shall be
                                              waived.
                       13
                                       33.4   STEP THREE – ARBITRATION
                       14
                                              The following procedure shall apply if a grievance is timely
                       15                     submitted in writing to arbitration:
                                              a. If the parties cannot reach agreement, the parties shall
                       16
                                                 obtain a list of impartial arbitrators from the Federal
                       17                        Mediation and Conciliation Services (FMCS). The parties
                                                 will select an arbitrator by alternately striking names from
                       18                        the list until one arbitrator remains. The selection of the
                                                 arbitrator must be completed no later than thirty (30)
                       19                        calendar days from receipt by the Facility of the appeal to
                                                 arbitration.
                       20
                                              b. A hearing on the grievance shall be held at a time and place
                       21                        designated by the arbitrator, at which the Facility and the
                                                 Union shall present their respective positions, evidence
                       22
                                                 and arguments. The sole parties to the arbitration shall be
                       23                        the Facility and the Union. The arbitrator’s decision shall
                                                 be rendered in writing and shall be final and binding on the
                       24                        parties and on all affected bargaining unit employees. It
                                                 shall be issued not more than thirty (30) calendar days after
                       25                        the close of the hearing or the filing of the briefs,
                                                 whichever is later.
                       26
                                              c. The arbitrator’s authority is derived from this Agreement
                       27                        and his/her jurisdiction is limited to the interpretation and
                                                 application thereof. He/She/They shall not have authority
                       28
                                                 to:
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                                                      i. amend or modify any provision of this Agreement; or
                        1
                                                      ii. render an award on any grievance arising before the
                        2                                 effective date or after the termination date.
                        3                         d. The fee and expenses of the arbitrator, the court reporter’s
                                                     appearance fee, and the cost of mutual facilities shall be
                        4                            borne equally by the Facility and the Union.
                        5          B.      NUHW and BCH Oakland Have a Dispute Over the Application of and
                                           Interpretation of CBA Language Concerning Representation,
                        6                  Subcontracting, Meet and Confer, Successorship, and Other Language
                        7                  1.     Facts Giving Rise to the Parties’ Dispute Over the CBA Language

                        8          22.     On or around January 24, 2025, the Defendant gave the initial notice that led to

                        9   these disputes over the interpretation of various provisions of each of the CBAs, as they applied

                       10   to each of the three bargaining units. On January 24, 2025, Defendant BCH Oakland notified

                       11   Plaintiff NUHW that on July 1, 2025, “BCH Oakland employees will become public employees

                       12   of UCSF with UCSF job titles.” Defendant also then engaged in direct dealing with NUHW’s

                       13   employees, telling them, “On July 1, 2025, all BCH Oakland staff will transition their

                       14   employment to the University of California (UC).” Defendant BCH Oakland named this forced

                       15   separation of employment and outsourcing of its employees to UCSF, an alleged “transition.”

                       16   BCH Oakland later changed the July 1, 2025, date to July 6, 2025, purportedly to synchronize the

                       17   date with its payroll processes. Attached as Exhibit D to this Complaint are true and correct

                       18   copies of BCH Oakland’s January 24, 2025, communications to NUHW, and to NUHW’s

                       19   members.

                       20          23.     Since January 24, 2025, Defendant has also maintained that when BCH Oakland

                       21   employees are forced to become UCSF employees, then BCH Oakland will also be withdrawing

                       22   recognition from NUHW as the certified representative of all the 1,332 employees it represents,

                       23   and that BCH Oakland will cease to recognize and abide by the terms and conditions of all its

                       24   CBAs with NUHW. On April 1 and April 2, 2025, BCH Oakland gave NUHW notice that it will

                       25   stop adhering to the S&T CBA, the BOC CBA, and the Pros CBA, beginning July 6, 2025. On

                       26   April 10, 2025, BCH Oakland issued a notice to the National Labor Relations Board (NLRB) that

                       27   it would unilaterally “terminate” all three NUHW-represented bargaining units and all three

                       28   CBAs with NUHW, effective July 5, 2025, at 11:59 p.m. In those notices, BCH Oakland
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                        1   acknowledged that all three NUHW-represented bargaining units were private-sector employees

                        2   organized under and subject to the jurisdiction of the National Labor Relations Act (NLRA).

                        3   Attached as Exhibit E to this Complaint are true and correct copies of BCH Oakland’s April 1

                        4   and April 2, 2025, Notices to NUHW “Pursuant to the National Labor Relations Act (“NLRA”)”,

                        5   as well as BCH Oakland’s April 10, 2025 “Required 60-day Notice to Terminate Collective

                        6   Bargaining Units”.

                        7                  2.      NUHW’s Grievances Were Properly and Timely Submitted and
                                                   Advanced to Arbitration
                        8

                        9          24.     Since January 24, 2025, Plaintiff NUHW has objected to BCH Oakland’s forcibly

                       10   severing the employment of all its 1,332 NUHW-represented employees and subcontracting of its

                       11   bargaining unit work and employees to UCSF.

                       12          25.     Plaintiff NUHW submitted six initial grievances on January 31, 2025 (two for

                       13   each bargaining unit), alleging violations of the CBA’s recognition clause and alleging that

                       14   Defendant was subcontracting all its bargaining unit work to UCSF. NUHW also sent BCH

                       15   Oakland a Request For Information seeking information related to the allegations of withdrawal

                       16   of representation and subcontracting. On February 14, 2025, BCH Oakland provided an initial

                       17   written response to NUHW’s information request. On February 18, 2025, the parties met in-

                       18   person to discuss those initial grievances and the pending information request.

                       19          26.     On February 24, 2025, NUHW submitted three additional amended grievances,

                       20   one for each bargaining unit, that included the original allegations together with several

                       21   additional alleged violations of CBA provisions.

                       22          27.     On February 28, 2025, BCH Oakland denied all the grievances. On March 4,

                       23   2025, the parties met for the Step 2 Adjustment Board, and despite efforts, the Adjustment Board

                       24   was unable to resolve the grievances. On March 6, NUHW provided notice that it was moving

                       25   the grievances to arbitration. On March 21, 2025, NUHW requested arbitration of the

                       26   grievances.

                       27                  3.      The Grievances Allege Violations of the CBAs

                       28          28.     Each of these three operative grievances allege violations of specified key
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                        1   provisions in each of the CBAs, including without limitation the CBA’s language about:

                        2   recognition/bargaining unit, meet and confer, no subcontracting, shop stewards, and discharge for

                        3   cause. Also, at issue and noted in the grievances is the language on successorship, which as

                        4   explained below, is directly at issue because Defendant has repeatedly asserted that this

                        5   successorship language privileges it to engage in the disputed conduct. All these topics and more

                        6   are stated in the attached grievances, and some of this CBA language is discussed below. For

                        7   each operative grievance, the introductory Statement of Grievance alleged:

                        8                   As an overview, the Hospital is attempting to withdraw recognition
                                            from NUHW and subcontract all bargaining unit work to UCSF, in
                        9                   gross violation of the explicit promises the Hospital made during
                                            bargaining, to its workers that this would not and could not occur
                       10
                                            unilaterally under the language agreed to in the labor contract. The
                       11                   Hospital is attempting to evade the bargaining unit recognition
                                            language, as well as the entire contract. Specific provisions are cited
                       12                   below. These violations are continuing….
                       13            29.    For each operative grievance, the Union specifically noted the parties’ dispute

                       14   over the interpretation of Section 1.5, Notice of Successorship, as follows: “Section 1.5, Notice

                       15   of Successorship. The Hospital appears to be invoking this Section improperly.”

                       16            30.    Attached as Exhibit F to this Complaint are the operative amended grievances,

                       17   namely the three February 24, 2025, grievances submitted, one for each of the three bargaining

                       18   units.

                       19   Recognition/Bargaining Unit

                       20            31.    Each grievance alleged violations of the CBAs’ Sections on Recognition/

                       21   Bargaining Unit. Each of the three CBAs provide, in relevant part language that BCH Oakland

                       22   will recognize NUHW as the exclusive bargaining agent for employees in specified NLRB

                       23   certified units. The S&T CBA includes the following language (See Exhibit A, S&T CBA,

                       24   Section 1.1):
                                            1.1    BARGAINING UNIT
                       25
                                                   a. The Hospital recognizes the Union as the exclusive
                       26                             bargaining agent for employees in the bargaining unit
                                                      certified in Case 32-RC-114542 and NLRB Case 32-RC-
                       27                             175744. Classifications covered by this Agreement are
                                                      listed in Appendix A.
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                                                   b. Newly Established Classifications
                        1
                                                      This Agreement shall apply to other classifications that
                        2                             may be established within the scope of the duties now and
                                                      historically included within the listed classifications and
                        3                             the wage rates of these other classifications will be
                        4                             determined by mutual agreement between the parties.

                        5          32.      Likewise, the BOC CBA includes the following language (See Exhibit B, BOC
                        6   CBA, Section 1.1):
                        7                   1.1    BARGAINING UNIT
                        8                          The Hospital recognizes the Union as the exclusive bargaining
                                                   agent for employees in the bargaining unit certified in Case
                        9                          32-RC-170709. Classifications covered by this Agreement are
                                                   listed in Appendix A.
                       10
                                                   a. Newly Established Classifications
                       11
                                                      This Agreement shall apply to other classifications that
                       12                             may be established within the scope of the duties now and
                                                      historically included within the listed classifications and
                       13                             the wage rates of these other classifications will be
                                                      determined by mutual agreement between the parties.
                       14
                                                   b. Exclusions
                       15
                                                      Excluded from the bargaining unit are service,
                       16                             maintenance, and technical employees, stationary
                                                      engineers, registered nurses and professional employees,
                       17                             guards, supervisors, and such other classifications as may
                                                      have been historically excluded from the unit.
                       18

                       19          33.      Finally, the Pros CBA includes the following language (See Exhibit C, Pros CBA,
                       20   Section 1.1):
                                            1.1    BARGAINING UNIT
                       21
                                                   a. The Hospital recognizes the Union as the exclusive
                       22                             bargaining agent for employees in the bargaining unit
                                                      certified in Case 32-RC-190377. Classifications covered
                       23
                                                      by this Agreement are listed in Appendix A.
                       24                          b. Newly Established Classifications
                       25                             This Agreement shall apply to other classifications that
                                                      may be established within the scope of the duties now and
                       26                             historically included within the listed classifications and
                                                      the wage rates of these other classifications will be
                       27                             determined by mutual agreement between the parties.
                       28
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                                                    c. Exclusions
                        1
                                                       Excluded from the bargaining unit are office and clerical
                        2                              employees, stationary engineers, guards, supervisors, and
                                                       such other classifications as may have been historically
                        3                              excluded from the unit.
                        4

                        5          34.       Each grievance alleged that BCH Oakland on February 18, 2025, confirmed that it

                        6   will be withdrawing recognition from NUHW as the exclusive bargaining representative for

                        7   recognized employees, and confirmed that it will be replacing existing classifications with newly

                        8   created classifications with new wage rates without mutual agreement of the parties.

                        9   No Subcontracting

                       10          35.       Each grievance alleged violations of the CBAs’ Sections on No Subcontracting.

                       11   The S&T CBA includes the following language: “Notwithstanding the provisions of Section 1,

                       12   Recognition, Subsection 1.3, during the life of this Agreement, the Hospital will not subcontract

                       13   any bargaining unit work currently performed within the Hospital without express consent of the

                       14   Union….” See Exhibit A, S&T CBA, Section 1.7(a) (No Subcontracting). The BOC CBA

                       15   similarly states: “Notwithstanding the provisions of Subsection 1.3, Notice of Mergers or

                       16   Closures, during the life of this Agreement, the Hospital will not subcontract any bargaining unit

                       17   work currently performed within the Hospital without express consent of the Union.” See

                       18   Exhibit B, BOC CBA, Section 1.7 (No Subcontracting). The Pros CBA states, “The Hospital

                       19   will not subcontract any bargaining unit work currently performed by the classifications listed in

                       20   Appendix A.” See Exhibit C, Pros CBA, Section 1.7 (No Subcontracting). All three grievances

                       21   alleged that BCH Oakland had taken steps, and continues to act, to unilaterally subcontract all

                       22   bargaining unit work performed within the Hospital by NUHW-represented employees, to UCSF.

                       23   See Exhibit F.

                       24   Meet and Confer

                       25          36.       Each grievance also alleged violations of the CBAs’ Sections on Meet and Confer.

                       26   Each of the three CBAs provide, in relevant part: “The Hospital shall not use any sale, transfer, or

                       27   other mechanism for the sole purposes of evading the terms of this agreement.” See Exhibit A,

                       28   S&T CBA, Section 1.6 (Meet and Confer); Exhibit B, BOC CBA, Section 1.6 (Meet and
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                        1   Confer); Exhibit C, Pros CBA, Section 1.6 (Meet and Confer). Each of the grievances allege

                        2   that BCH Oakland is using subcontracting and/or other mechanisms for the sole purpose of

                        3   evading the terms of the CBAs. See Exhibit F.

                        4   Notice of Successorship Provisions

                        5          37.     Each grievance also alleged that BCH Oakland was improperly invoking the

                        6   CBAs’ Sections on Notice of Successorship. As noted below, the interpretation of this language

                        7   contained in Section 1.5(b) of the CBAs is particularly in dispute because Defendant asserts that

                        8   this contract language privileges BCH Oakland to compel BCH Oakland employees to either

                        9   become UCSF employees or lose their jobs.

                       10          C.      Defendant BCH Oakland Has Refused and Failed to Arbitrate the
                                           Grievances
                       11

                       12          38.     After the grievance was submitted, representatives of NUHW have consistently

                       13   sought to resolve the dispute or, absent resolution, advance the dispute to arbitration. The parties

                       14   have been unable to resolve the dispute, but Defendant has refused Plaintiff’s oral and written

                       15   demands for arbitration.

                       16          39.     As noted above, after moving the grievances to arbitration, on March 21, 2025,

                       17   NUHW requested that BCH Oakland either cease and desist from additional conduct to

                       18   implement its forced separation and subcontracting of employees or agree to arbitration. NUHW

                       19   alleges that the proposed integration date of early July 2025, is a deadline of Defendant’s own

                       20   making, and one that Defendant could easily postpone until an arbitration is concluded. Since

                       21   Defendant had itself set a deadline of July 6, 2025, NUHW offered to participate in expedited

                       22   arbitration. NUHW’s rationale in offering expedited arbitration was to allow, if Defendant so

                       23   agreed in March of 2025, an arbitration to occur and be completed, or close to completion, in

                       24   advance of Defendant’s unilaterally imposed deadline. Over the following week, the parties

                       25   exchanged several emails. On March 26, 2025, Defendant refused expedited arbitration, stating

                       26   through its counsel: “To respond to your question as to whether the Hospital agrees to an

                       27   expedited arbitration process, the response is that the Hospital will not agree to this request.”

                       28          40.     The parties, by and through their counsel, scheduled a call for March 28, 2025.
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                        1   During the call, when NUHW’s representative requested arbitrator selection under the procedures

                        2   stated in the CBAs, BCH Oakland’s representative responded by saying that it would not

                        3   participate in arbitrator selection with NUHW because it was declining to participate in

                        4   arbitration. BCH Oakland said it would be sending over a letter response to NUHW’s request for

                        5   arbitration, explaining its rationale.

                        6           41.     On March 28, 2025, Defendant responded to NUHW’s Request for Arbitration

                        7   and declined to proceed to arbitration on all of the grievances. The letter is very firm and clear

                        8   that BCH Oakland will not agree to arbitration under any circumstances, stating: “Accordingly,

                        9   the Hospital is declining to proceed to arbitration on the NUHW grievances.” See Exhibit G,

                       10   Response to Demand for Expedited Arbitration, dated March 28, 2025, at p. 8.

                       11           42.     As two of the CBAs (the S&T and BOC CBAs) were set to expire, NUHW

                       12   requested bargaining over successor CBAs. The parties met for successor contract negotiations

                       13   on several occasions, including March 19, April 16, April 24, and April 30, 2025. BCH Oakland

                       14   would not negotiate an agreement that extended beyond July 5, 2025. During these sessions,

                       15   NUHW made oral demands to arbitrate these disputes, and BCH Oakland repeatedly refused to

                       16   do so. On April 30, 2025, BCH Oakland sent NUHW another written communication citing

                       17   Section 1.5 of the CBAs and claiming that NUHW’s demand for arbitration was improper. On

                       18   May 1, 2025, BCH Oakland issued offer letters directly to NUHW-represented employees (again,

                       19   direct dealing), giving them the ultimatum of losing their job or signing up with UCSF with

                       20   largely, inferior compensation packages. On May 9, 2025, NUHW again asked BCH Oakland

                       21   whether it would agree to arbitration. On May 13, 2025, BCH Oakland responded in substance,

                       22   stating that its position has not changed and reiterating its refusal to arbitrate the grievances.

                       23           D.      BCH Oakland’s Refusal to Arbitrate Is Based on Its Disputed Interpretation
                                            of Section 1.5, and on Other Merits-Based Arguments
                       24

                       25           43.     There can be no question that an arbitrator would be called upon to interpret and

                       26   apply various provisions of the CBAs, including Section 1.5 of the parties’ CBA. As noted,

                       27   NUHW’s grievances (Exhibit F) cite to Section 1.5 and allege “The Hospital appears to be

                       28   invoking this Section improperly.” Moreover, in declining to proceed to arbitration, BCH
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                        1   Oakland expressly relied on its interpretation of CBA language contained in Section 1.5(b): “In

                        2   contrast to the contract provisions listed in the six grievances, contract Section 1.5(b) is relevant

                        3   and dispositive of the Request for Expedited Arbitration. This provision was discussed and

                        4   agreed to by NUHW when the current contract was negotiated.” See Exhibit G at p. 2.

                        5           44.    A key dispute between the parties is whether BCH Oakland’s forcibly making its

                        6   employees become UCSF employees, violates the no subcontracting and meet and confer

                        7   language (Sections 1.6 and 1.7), or is an occurrence anticipated by the successorship provisions

                        8   (Section 1.5) of the CBA. To this end, BCH Oakland has repeatedly and unequivocally claimed

                        9   that it is not subcontracting because, allegedly, the Hospital is relying on Section 1.5. BCH’s

                       10   Oakland’s March 28, 2025, written declination and refusal to arbitrate cites the CBA provisions

                       11   Section 1.5, Notice of Successorship in its entirety. See Exhibit G at pp. 2-5. In the letter, BCH

                       12   Oakland’s stated reason for declining arbitration relies on BCH Oakland’s interpretation of

                       13   Section 1.5, which not surprisingly differs from NUHW’s interpretation of Section 1.5. In its

                       14   letter refusing to arbitrate, BCH Oakland acknowledges the parties’ dispute over the meaning of

                       15   this language: “Contrary to NUHWs assertions, contract provision 1.5(b)(2) expressly anticipated

                       16   and provided for the possibility of future changes in health care grants and efficiency of service

                       17   delivery, with resulting operational integration of BCH Oakland with UCSF.” See Exhibit G at

                       18   p. 6.

                       19           45.    NUHW asserts that Section 1.5(b) does not privilege BCH Oakland to proceed

                       20   with its integration. NUHW asserts, and will demonstrate through bargaining history at

                       21   arbitration, that when it negotiated and agreed upon the language in Section 1.5(b), the parties

                       22   explicitly discussed during bargaining and understood that BCH Oakland would not and could

                       23   not force BCH Oakland employees to become UCSF or UC employees under the

                       24   circumstances that exist here, while at the same time BCH Oakland continues to exist as a

                       25   separate legal entity from UCSF. Yet BCH Oakland is doing now exactly what it promised

                       26   during bargaining it would not do, while continuing to exist as a separate legal entity: with a

                       27   separate hospital license from UCSF, with no change to the hospital name or branding, with

                       28   separate government contracts from UCSF, with separate managed care contracts from UCSF,
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                        1   with no change to FQHC status, and with virtually no changes other than those related to

                        2   employee status, compensation, benefits, or human resources. As BCH Oakland admitted:

                        3   “There is no change to BCH Oakland’s status as a private, nonprofit children’s hospital that is

                        4   separately licensed from UCSF Medical Center.” See Exhibit H, February 14, 2025, BCH

                        5   Oakland’s response to NUHW’s information request, at p. 3.

                        6          46.     NUHW’s understanding is consistent with the Affiliation Agreement and the

                        7   Amended and Restated Management Services Agreement (MSA) between BCH Oakland and the

                        8   Regents of the University of California, acting on behalf of the University of California San

                        9   Francisco (UCSF). Since August 1, 2013, those agreements have been clear that rank-and-file

                       10   employees remain employed by BCH Oakland, with only a defined group of Senior Executives

                       11   being employees of UCSF. The MSA itself in Section 2.1(c) openly admits this: “All employees

                       12   of CHO and/or the Hospital, other than the Senior Executive Employees and such other

                       13   individuals who may be employed or contracted by Manager to perform the Management

                       14   Services, shall remain employees of CHO.”

                       15          47.     Also, as to NUHW’s alleged violations of the no subcontracting section, BCH

                       16   Oakland’s response asserts that no violation has occurred, by claiming that their alleged

                       17   “integration” is not subcontracting based on a third-party definition of the word “subcontracting”.

                       18   This is clearly a dispute on the merits of the grievance that turns on the interpretation of contract

                       19   language – again, a matter to be determined by an arbitrator.

                       20          48.     Finally, in response to NUHW’s allegation that BCH Oakland has violated Section

                       21   1.6, BCH Oakland again frames the dispute as one that will turn on the merits. Through

                       22   information requests, NUHW confirmed that BCH Oakland and its satellite clinics would retain

                       23   the same ownership structure, funding sources and license. The only items that change because

                       24   of the integration are that the BCH employees are forced to either lose their jobs or become

                       25   UCSF employees, and that the contracts and compensation of these employees will be through

                       26   UCSF. See Exhibit H. NUHW thus alleges that the proposed “integration” is for the sole

                       27   purpose of evading the collective bargaining agreement, as by subcontracting the employees to

                       28   UCSF, BCH Oakland would rid itself of its collective bargaining obligations under the CBA’s
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                        1   terms. NUHW’s employees have determined that on average, they will lose approximately

                        2   $10,000 in take home pay because UCSF would move the NUHW-represented employees into

                        3   unions whose contracts would require the employees to pay significantly more for their health

                        4   and retirement benefits. Thus, the parties clearly dispute whether the proposed “integration” is

                        5   being done for the sole purpose of evading the CBAs. Again, this is a merits dispute.

                        6          49.     Ironically, BCH Oakland’s March 28, 2025, refusal to arbitrate illustrates

                        7   precisely why the parties dispute the language of several provisions in the CBAs, and why an

                        8   arbitration is the appropriate and contractually agreed-upon method for resolving the parties’

                        9   disputes over the meaning and application of the CBA’s language.

                       10                   V. CLAIM FOR ORDER COMPELLING ARBITRATION
                                                   UNDER 9 U.S.C. § 4 AND 29 U.S.C. § 185
                       11

                       12          50.     Plaintiff repeats and realleges the above allegations as if fully set forth herein.

                       13          51.     Plaintiff is a labor organization representing employees in industries affecting

                       14   interstate commerce.

                       15          52.     Defendant BCH Oakland is engaged in industries affecting commerce.

                       16          53.     Both Plaintiff and Defendant are parties to each of the three CBAs; each having

                       17   voluntarily agreed to the terms of each CBA, including the Grievance and Arbitration procedures.

                       18          54.     Disputes under the CBAs have arisen between the parties.

                       19          55.     The disputes fall within the scope of the Arbitration provisions of the CBAs,

                       20   which subjects the disputes to arbitration.

                       21          56.     Plaintiff timely advanced the disputes as Grievances through all applicable

                       22   contract provisions called for in the CBAs, up to and including demanding arbitration of the

                       23   disputes.

                       24          57.     Despite the disputes being ripe for arbitration, Defendant has failed, neglected, or

                       25   refused to arbitrate the disputes, or any one of the disputes, under each of the three CBAs.

                       26          58.     The Petition is properly brought under Section 301 of the Labor Management

                       27   Relations Act, 29 U.S.C. § 185. “As a general rule in cases to which federal law applies, federal

                       28   labor policy requires ... use of the contract grievance procedure agreed upon by employer and
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                        1   union as the mode of redress.” Republic Steel Corp. v. Maddox, 379 U.S. 650, 652, 85 S.Ct. 614,

                        2   13 L.Ed.2d 580 (1965). The intent of Congress in passing Section 301 was to encourage

                        3   mutually agreed upon grievance procedures between parties to “promote a higher degree of

                        4   responsibility upon the parties to such agreements ... thereby promot[ing] industrial peace.”

                        5   Drake Bakeries, Inc. v. Local 50, Am. Bakery & Confectionery Workers Int’l, AFL–CIO, 370

                        6   U.S. 254, 263, 82 S.Ct. 1346, 8 L.Ed.2d 474 (1962) (quoting S.Rep. No. 105, 80th Cong., 1st

                        7   Sess. 17). “That policy can be effectuated only if the means chosen by the parties for settlement

                        8   of their differences under a collective bargaining agreement is given full play.” Id. (citing United

                        9   Steelworkers v. American Mfg. Co., 363 U.S. 564, 566, 80 S.Ct. 1363, 4 L.Ed.2d 1432 (1960)).

                       10   This goal is embodied in Sections 31 of the S&T CBA and the BOC CBA, and Section 33 of the

                       11   Pros CBA, which states that the arbitrations procedures “shall apply”.

                       12                         VI. RELIEF SOUGHT/PRAYER FOR RELIEF

                       13          WHEREFORE, Plaintiff prays as follows:

                       14          1.      For an order compelling Defendant BCH Oakland to arbitrate the grievances in

                       15                  accordance with the CBAs, and a judgment thereon;

                       16          2.      For an award of reasonable attorney fees;

                       17          3.      For costs incurred herein; and

                       18          4.      For such other and further relief as this Court deems just and proper.

                       19
                       20   DATED: May 13, 2025                                SIEGEL LEWITTER MALKANI

                       21                                                      By:           /s/ Latika Malkani
                       22                                                            Jonathan H. Siegel
                                                                                     Latika Malkani
                       23                                                            Laura Herron Weber
                                                                               Attorneys for Plaintiff National Union of
                       24                                                      Healthcare Workers

                       25

                       26

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